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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )                     8:05CR94
       vs.                                         )
                                                   )                  TRIAL ORDER
LEONARDO VARGAS-GONZALEZ,                          )
                                                   )
                       Defendant.                  )

         On October 16, 2006, the defendant filed a Petition [285] to enter a plea of guilty, which was
ultimately set for hearing before Judge Smith Camp on November 21, 2006. 11/21/2006. At the
request of the defendant, the plea hearing was continued to December 11, 2006 and a jury trial set
for January 16, 2007 if the defendant was not willing to plead guilty on December 11, 2006. On
December 11, 2006, substitute counsel was appointed for the defendant and the matter set for trial
on January 16, 2007. On January 4, 2007, defendant asked that the matter be removed from the
trial docket so he could enter a plea of guilty. A second petition to enter a plea of guilty was filed
on January 11, 2007.

       After three court appearances on the second plea petition [313], the defendant has not
provided the information necessary to effect a plea of guilty. Thus, the matter must be set for trial.

       IT IS ORDERED:

        1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie Smith
Camp, District Court Judge, to begin Tuesday, March 20, 2007 at 9:00 a.m. in Courtroom No. 2,
Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska;
because this is a criminal case, defendant(s) must be present in person. Counsel will receive more
specific information regarding the order of trial from Judge Smith Camp’s staff.

        2. Any motions for a continuance of this trial date shall be electronically filed no later than
March 6, 2007 and shall (a) set forth the reasons why the moving party believes that the additional
time should be allowed and (b) justify the additional time, citing specific references to the
appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Any defense motion
for continuance shall be accompanied by a written affidavit signed by the defendant in accordance
with NECrimR 12.1.

      3. Counsel for the United States shall confer with defense counsel and, no later than
March 13, 2007, advise the court of the anticipated length of trial.

       DATED February 21, 2007.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
